                         IN THE UNITED STATES DISTSRICT COURT
                        NORTHERN DISTRICT, NORTHERN DIVISION

  IN RE:                                        )
                                                )
  H&B HOLDINGS, INC.                            )   CASE NO. 19-82417-CRJ-11
                                                )
           Debtor                               )   CHAPTER 11


                          APPLICATION TO EMPLOY ATTORNEY

          COMES NOW, H&B Holdings, Inc. ("Debtor"), the Debtor in the above Chapter 11 case
 and requests this Court for appointment of an attorney pursuant to 11 U.S.C. § 327, and as grounds
 for this Application would show unto the Court as follows:

        1.      Debtor filed a petition for relief under Chapter 11 of the Bankruptcy Code on
 August 13, 2019 and, as a Debtor-in-Possession, desires to employ the law firm of Maples Law
 Firm, P.C. (the "Law Firm") as its attorneys in this case.

        2.       The members of the Law Firm are admitted to practice in this Court, have
 knowledge and experience in bankruptcy law practice, and are well qualified to represent the
 Debtor in this case.

        3.      In the continuance of Debtor's business and the pending Chapter 11 case, it will be
 necessary for various professional legal services to be rendered for which it is necessary to retain
 attorneys. These services include:

               a.       Preparing pleadings and applications and conducting examinations
        incidental to any related proceedings or to the administration of this case;

                b.      Developing the relationship of the status of the Debtor to the claims of
        creditors in this case;

               c.     Advising the Debtor of its rights, duties, and obligations as Debtor operating
        under Chapter 11 of the Bankruptcy Code;

              d.      Taking any and all other necessary action incident to the proper preservation
        and administration of this Chapter 11 case; and

                e.      Advising and assisting the Debtor in the formation and preservation of a
        plan pursuant to Chapter 11 of the Bankruptcy Code, the disclosure statement, and any and
        all matters related thereto.




Case 19-82417-CRJ11         Doc 6    Filed 08/14/19 Entered 08/14/19 14:13:54             Desc Main
                                    Document      Page 1 of 4
         4.      To the best of applicant's knowledge and as evidenced by the attached declaration,
 no member of the Law Firm holds or represents an interest adverse to this estate and all members
 are "disinterested" persons under the Bankruptcy Code.

         5.     Applicant proposes to compensate the Law Firm for the services of its members
 according to their standard hourly rate as that rate may from time to time be adjusted during the
 pendency of this Chapter 11 case. The current rate for the bankruptcy partner that will be the
 Debtor's main contact is $360.00 per hour. The rate for associates charged by the Law Firm is
 currently $205.00 to $215.00 per hour. The rate for paralegals charged by the Law Firm is
 currently $55.00 to $130 per hour. All payments will be subject to approval and allowance by the
 Court.

        WHEREFORE, Applicant prays that it be authorized to obtain, appoint, and employ the
 Law Firm as its attorneys to represent it in this case under the terms and conditions provided above.

        DATED August 14, 2019.



                                                       H&B Holdings, Inc.


                                                       /s/ Hank Robbins
                                                       Hank Robbins, President


                                                       /s/Stuart M. Maples
                                                       Stuart M. Maples


 Maples Law Firm, PC
 200 Clinton Ave. West, Suite 1000
 Huntsville, AL 35801
 (256) 489-9779 – Telephone
 (256) 489-9720 – Facsimile
 smaples@mapleslawfirmpc.com




Case 19-82417-CRJ11         Doc 6     Filed 08/14/19 Entered 08/14/19 14:13:54             Desc Main
                                     Document      Page 2 of 4
                                 CERTIFICATE OF SERVICE

         I hereby certify that I have served a copy of the foregoing by the method stated below on
 the following on August 14, 2019.

 Richard Blythe
 Bankruptcy Administrator
 P.O. Box 3045
 Decatur, AL 35602
 Via email: richard_blythe@alnba.uscourts.gov

 All parties requesting notice via the Court’s ECF system

 Via U.S. Mail to all creditors on matrix



                                                     /s/ Stuart M. Maples
                                                     OF COUNSEL




Case 19-82417-CRJ11         Doc 6    Filed 08/14/19 Entered 08/14/19 14:13:54          Desc Main
                                    Document      Page 3 of 4
                         IN THE UNITED STATES DISTSRICT COURT
                        NORTHERN DISTRICT, NORTHERN DIVISION

  IN RE:                                        )
                                                )
  H&B HOLDINGS, INC.                            )   CASE NO. 19-82417-CRJ-11
                                                )
           Debtor                               )   CHAPTER 11


                                 ATTORNEY'S DECLARATION

       Now comes Stuart M. Maples and in support of the application of the above Debtor for
 employment of an attorney in this Chapter 11 states as follows:

        1.    I am a member of the firm of Maples Law Firm, P.C. (the "Law Firm") and have
 been duly admitted to practice in this Court.

         2.     To the best of my knowledge, each member of this firm is a disinterested person in
 this case and no member represents or holds any interest adverse to the estate in the matters upon
 which the firm is to be engaged.

        3.       To the best of my knowledge, no member of the Law Firm has any connection with
 the Debtor, its creditors, or any other party in interest or their respective attorneys including the
 U.S. Trustee or any employee of the Bankruptcy Administrator's Office in this District.

        4.     The Law Firm has agreed to represent the Debtor in this Chapter 11 case upon the
 terms and conditions set forth in the Debtor's Application.

        5.     The law firm has not agreed to split or share any compensation received in this
 matter with any other person or entity.

        Dated August 14, 2019.

                                                       /S/ STUART M. MAPLES
                                                       STUART M. MAPLES

 MAPLES LAW FIRM, PC                                   SWORN TO AND SUBSCRIBED BEFORE
 200 CLINTON AVE. WEST, SUITE 1000                     ME ON AUGUST 14, 2019
 HUNTSVILLE, AL 35801
 (256) 489-9770 – TELEPHONE                            /S/ JESSICA MANNING
 (256) 489-9720 - FACSIMILE                            NOTARY PUBLIC
                                                       My Commission Expires: 9/28/21




Case 19-82417-CRJ11         Doc 6     Filed 08/14/19 Entered 08/14/19 14:13:54             Desc Main
                                     Document      Page 4 of 4
